Case 2:22-cv-14102-DMM Document 26-1 Entered on FLSD Docket 04/06/2022 Page 1 of 2



                                      RETURN OF SERVICE
                                 UNITED STATES DISTRICT COURT
                                         District of Florida
   Case Number: 22CV14102-DMM
   Plaintiff: DONALD J. TRUMP, 45TH PRESIDENT OF THE UNITED
   STATES
   vs.
                                                                                    BII2022004348
   Defendant: HILLARY R. CLINTON, ET AL
   For: Peter Ticktin, Esq.
        The Ticktin Law Group
   Received by Burke Process Service on the 28th day of March, 2022 at 7:56 am to be served on
   DEMOCRATIC NATIONAL COMMITTEE, 430 SOUTH CAPITOL STREET SE, WASHINGTON, DC 20003.
          Paul
   I, _____________     Koch
                     _____________,                                  5th day of ___________,
                                       do hereby affirm that on the ______           April       22 at
                                                                                               20___
     4 31p
   ___:____.m., executed service by delivering a true copy of the Summons in a Civil Action, Complaint for
   Damages and Demand for Jury Trial and Civil Cover Sheet in accordance with state statutes in the
   manner marked below:
   ( ) INDIVIDUAL SERVICE: By serving therein named individual at listed business address

   ( ) DESIGNATED SERVICE, : By serving _________________________________, as
   ___________________________, who stated that he/she was the designated person to accept service on
   the within named subject's behalf in their absence, and informed said person of the contents therein in
   compliance with state statutes.

   ( ) CORPORATE SERVICE REGISTERED AGENT: By serving _________________________________ as
   Registered Agent

                                                      Kimberly Duffy
   (X) CORPORATE SERVICE: By serving ____________________________________                as
         Director of Operations
   ____________________________,        as an agent/employee of the corporation or Registered Agent, as
   allowed by Florida Statutes and informed said person of the contents wherein.

   ( ) CORPORATE SERVED AT USUAL PLACE OF ABODE by leaving a copy with the date and hour
   endorsed thereon by me to _________________________, who is co-resident & is 15 years of age or older
   of Corporate officer, Registered Agent or Corporate Director: _______________________, as allowed by FL
   Statutes 48.081 (3) (b) and 48.031 (1) (a) and informed said person of the contents wherein.

   ( ) NON SERVICE: For the reason detailed in the Comments below.
   COMMENTS:




   Age 30-40
       ____ Sex M F Race Caucasian          5'8"
                         _________ Height _______         130
                                                  Weight _______       Blonde
                                                                 Hair __________ Glasses
   Y N
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                             RETURN OF SERVICE For 22CV14102-DMM
   Under penalties of perjury, I declare that I have read the foregoing Return of Service and the facts stated are
   true and correct. NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2).



                                                                                      N/A
                                                              PROCESS SERVER # __________________
                                                              Appointed in accordance with State Statutes

                                                              Burke Process Service
                                                              7200 W. Camino Real
                                                              Suite 102
                                                              Boca Raton, FL 33433
                                                              (954) 514-0116

                                                              Our Job Serial Number: 2022004348
